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                          IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL by the OIL RIG                        MDL NO. 2179
“DEEPWATER HORIZON” in the
GULF OF MEXICO, on April 20, 2010                      SECTION: J

THIS PLEADING APPLIES TO:                              JUDGE BARBIER
2:2010-md-02179 and 2:2010-CV-02771
                                                       MAGISTRATE JUDGE
                                                       SHUSHAN

                                              ORDER


       CONSIDERING THE EX PARTE MOTION of Dril-Quip to File Under Seal Exhibits

to Dril-Quip’s Memorandum of Law in Support of Dril-Quip’s Motion for Summary Judgment

on All Claims,

       IT IS HEREBY ORDERED that the motion be and hereby is GRANTED, and that

Exhibits A, B, D, E, I, J, K, L, M, N, O, S, T, U, V, W, X, Y, Z, AA, BB, CC, DD, LL, NN,

OO, QQ, RR, SS, TT, AAA,BBB, CCC, DDD, EEE, FFF, HHH, KKK, LLL, MMM, NNN,

and OOO to Dril-Quip’s Memorandum in Support of Dril-Quip’s Motion for Summary

Judgment on All Claims shall be filed under seal.

       New Orleans, Louisiana, this ____ day of _________, 2011.



                                                    ________________________________
                                                    UNITED STATES DISTRICT JUDGE
